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                                     January 9, 2023



The Honorable Judge John Dorsey
U.S. Bankruptcy Court for the District of Delaware
824 N Market St # 500
Wilmington, DE 19801


Re: Motion to Appoint Independent Examiner, In re FTX Trading Ltd., et al. (No. 22-11068-
JTD)

Dear Your Honor:

We write regarding the investigation surrounding FTX and its case in your court. In recent years,
many Americans have followed the explosive growth of the digital asset industry, as well as the
recent and highly-publicized collapse of several of its major players. While many factors
precipitated these collapses, including poor strategic and business management decisions, as well
as – in some cases – outright apparent fraud, these events continually occurred in an environment
with weak compliance by the industry and little oversight from agencies that otherwise protect
US retail investors. The damage FTX and other mismanaged digital asset firms have caused is
considerable: they have destroyed the life savings of tens of thousands of customers in the U.S.
and all over the world.

Regarding FTX specifically, we believe it is critical that a strong, objective, and disinterested
examiner is appointed in this case to conduct a searching investigation of FTX, FTX US and its
related entities in order to uncover the facts needed to assure FTX’s customers – and the broader
public – that justice is served and to inform Congress’ consideration of future digital asset
legislation.

FTX’s advisers and gatekeepers have generally been their lawyers. While the company had both
in-house legal and compliance staff, it also spent tens of millions of dollars on advice from
outside counsel. Indeed, the law firm of Sullivan & Cromwell advised FTX for years leading up
to its collapse and one of its partners even served as FTX’s general counsel. This same firm,
Sullivan & Cromwell, is conducting the investigation into the apparent fraud and criminal
activity that current FTX CEO John Ray identified during his December 13, 2022 testimony to
the House Financial Services Committee. Mr. Ray pointed to an absence of corporate controls
and oversight, limitless borrowing of FTX funds by Alameda Research – FTX’s sister trading
company, which is also experiencing a solvency crisis – for its own trading and investments, and
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the commingling of customer assets as significant breaches of commonly-held “good
governance” standards. Furthermore, Mr. Rey written testimony stated FTX lacked centralized
banking documentation, daily reconciliation of digital assets, adequate insurance, personnel and
financial risk management functions, audited or reliable financial statements, an independent
board or business owners, segregation of people’s money, rules and limits for senior
management, and independent governance throughout the FTX group. 1Mr. Ray agreed that a
financial firm of this size needs dedicated accounting, human resources, legal compliance, and
risk departments to prevent this sort of catastrophe2.

Despite these glaring and long-standing issues with the management of FTX, Sullivan &
Cromwell requests (Doc. 270) to be approved as Debtor’s Counsel to this Court and admits that
it charged over $8,500,000 in legal fees to FTX prior to bankruptcy for advising FTX on a
variety of legal matters including “acquisition transactions and specific regulatory inquiries
related to certain U.S. business lines” - the very issues that may be considered by this Court and
certainly will be considered in related criminal and civil matters.3

Additionally, somewhat shockingly, Sullivan & Cromwell claims it is “disinterested” within the
meaning of the U.S. Bankruptcy Code.4 Yet significant questions about the firm’s involvement in
the operations of FTX remain unanswered, including the extent to which Sullivan & Cromwell
attorneys had questions or suspected fraud or the absence of appropriate legal controls, the actual
scope of Sullivan & Cromwell’s representation of FTX and if not Sullivan & Cromwell, which
law firm actually served as “primary external counsel” to the Debtors.5

As legal counsel is often central to major financial scandals, given their role in drafting financial
agreements, risk management compliance practices, and corporate controls, it is perfectly
reasonable to have concerns about the impartiality and manner that Sullivan & Cromwell will
approach any investigation of FTX with. To name just one challenge: will the firm’s lawyers be
able to effectively investigate their current and former partners who were central in FTX’s
conduct? Additionally, given their longstanding legal work for FTX, they may well bear a
measure of responsibility for the damage wrecked on the company’s victims. Put bluntly, the
firm is simply not in a position to uncover the information needed to ensure confidence in any
investigation or findings.

Accordingly, we urge you to support the U.S. Trustee’s Motion (Doc. 176) to Appoint an
Independent Examiner to have full authority and resources to conduct a thorough, objective,
investigation of the activities that led to the collapse of FTX. Financial markets, and our

1
  Investigating the Collapse of FTX, Part I, Hearing Before the H. Comm. on Financial Services, 117th Cong.; See
https://docs.house.gov/meetings/BA/BA00/20221213/115246/HHRG-117-BA00-Wstate-RayJ-20221213.pdf
2
  Investigating the Collapse of FTX, Part I, Hearing Before the H. Comm. on Financial Services, 117th Cong., 2d
Sess. (Dec. 16, 2022), available at https://www.youtube.com/watch?v=zqIa6ccn3Bw.
3
  See Doc. 270.
4
  Doc. 270, at *8; Doc. 270-3, at *10. See also 11 U.S.C. 101(14).
5
  Doc. 270-3, at *9.
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economy writ-large, depends on the trust of the American people. In the case of FTX, that trust
has been broken, and it is critical that we take steps to restore it.

With Warm Regards,




John Hickenlooper
United States Senator




Thom Tillis
United States Senator




Elizabeth Warren
United States Senator




Cynthia Lummis
United States Senator
